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                    UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION


 MICHAEL CONWAY,
          Plaintiff
                                                      No. 20 CV 4966
        v.
                                                      Judge Jeremy C. Daniel
 CITY OF CHICAGO, et al.
           Defendants


                     MEMORANDUM OPINION AND ORDER

       Plaintiff Michael Conway filed this action alleging federal and state law claims

of protected-speech retaliation under the First Amendment by Defendants City of

Chicago (the “City”), the City’s Department of Aviation (“CDA”) Managing Deputy

Commissioner Erin O’Donnell, 1 and CDA Deputy Commissioner Costas Simos. (R. 1

(“Compl.”) ¶ 1.)2 The defendants filed a motion for summary judgment under Federal

Rule of Civil Procedure 56. (R. 252.) Conway has cross-moved for partial summary

judgment on his federal claim. (R. 303; R. 324 (“Pl.’s Br.”).) For the following reasons,

the defendants motion is granted as to Conway’s federal claim, and Conway’s motion

is denied in its entirety. The Court declines to exercise supplemental jurisdiction



   1 The Court adopts the defendants’ preferred nomenclature for Erin O’Donnell-Russell.

(See R. 355, Plaintiff’s Response to Defendants’ Statement of Facts (“Pl.’s Resp. to Defs.’
SOF”) ¶ 4.)
    2 For ECF filings, the Court cites to the page number(s) set forth in the document’s ECF

header unless citing to a particular paragraph or other page designation is more appropriate.
For documents filed under seal, the Court cites the sealed version of the documents while
attempting not to reveal any information that could be reasonably deemed confidential.
Confidential information is discussed to the extent necessary to explain the path of the
Court’s reasoning. See In re Specht, 622 F.3d 697, 701 (7th Cir. 2010); Union Oil Co. of Cal.
v. Leavell, 220 F.3d 562, 568 (7th Cir. 2000).
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under 28 U.S.C.§ 1367 over Conway’s state law claim, which is dismissed without

prejudice. Conway’s motion for oral argument is denied, (see Pl.’s Br. at ii), and his

motion to seal (R. 349) is granted.

                                     BACKGROUND 3

       Conway has been employed by the CDA since December 1995. (Pl.’s Resp. to

Defs.’ SOF ¶ 2.) He was first hired as an Airport Operations Supervisor (“AOS”) I and

then promoted to the role of AOS II in about August 1999. (Id.) There is no dispute

that Conway’s duties at all times of his employment included monitoring and

reporting the runway conditions at Midway Airport (“Midway”) in Chicago, Illinois.

(Id. ¶ 24; R. 351, Defendants’ Response to Plaintiff’s Statement of Facts (“Defs.’ Resp.

to Pl.’s SOF”) ¶ 2.) This suit relates to Conway’s performance of these duties on the

morning of February 17, 2018, and alleged acts of retaliation by the defendants.

(Defs.’ Resp. to Pl.’s SOF ¶ 17; Pl.’s Resp. to Defs.’ SOF ¶ 31.)

       Conway claims that on February 17th, Simos ordered him to falsify a report

about runway conditions. (Pl.’s Resp. to Defs.’ SOF ¶ 31.) The parties disagree as to

the proper characterization of the weather conditions that day. (Compare Defs.’ Resp.

to Pl.’s SOF ¶ 35, with Pl.’s Resp. to Defs.’ SOF ¶¶ 39–42.) But they agree that Simos,

on his authority as Deputy Commissioner, asked Conway to update the runway

conditions and that Conway did not immediately do so. (See Defs.’ Resp. to Pl.’s SOF

¶¶ 31–32.) The parties agree that Conway eventually issued a runway condition

report consistent with Simos’s desires. (Id. ¶ 37.)


   3 The following facts are taken from the parties’ L.R. 56.1 Statements, the materials cited

therein, and other aspects of the record in this case.
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      Seven months later, on September 4, 2018, Conway was involved in a “runway

incursion,” i.e., “an unauthorized intrusion of a vehicle or aircraft onto an aircraft

movement area.” (Pl.’s Resp. to Defs.’ SOF ¶¶ 54–55; Defs.’ Resp. to Pl.’s SOF ¶ 70.)

The parties dispute whether a runway incursion is a very serious and significant

safety violation. (Compare Pl.’s Resp. to Defs.’ SOF ¶¶ 74–75, with Defs.’ Resp. to Pl.’s

SOF ¶¶ 104–06.) There is evidence that runway incursions are expressly prohibited

by the Federal Aviation Administration (“FAA”). (Defs.’ Resp. to Pl.’s SOF ¶ 2.) There

is also evidence that the FAA promptly began investigating the incident that same

day. (Pl.’s Resp. to Defs.’ SOF ¶ 55.) But Conway testified that similar conduct by

others had never been disciplined at Midway. (Defs.’ Resp. to Pl.’s SOF ¶¶ 104–06.)

      On September 6, 2018, General Manager Samual David Kaufman told Conway

that a pre-disciplinary meeting would be scheduled the following week to consider

potential rule violations associated with his runway incursion. (Pl.’s Resp. to Defs.’

SOF ¶¶ 18, 60.) At some point, Conway told Kaufman that he believed the incursion

was caused partially from knowing that Simos “was returning from his vacation that

day.” (Defs.’ Resp. to Pl.’s SOF ¶ 74.) When the incursion occurred, Conway was

experiencing serious “stress and pressure” from “the various confrontational issues

at work.” (Id.) Specifically, due to the weather conditions that day, Conway was

concerned that Simos would order him to falsify the runway conditions again. (R. 353-

1 (“Conway Dep.”) at 181:5–17, 394:14–396:6.)

      Beginning on September 11, 2018, Conway took sick leave and the pre-

disciplinary meeting was rescheduled. (Defs.’ Resp. to Pl.’s SOF ¶ 75; Pl.’s Resp. to



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Defs.’ SOF ¶ 61.) Conway discussed his leave on or about September 17 or 20, 2018,

with the Director of Administration for Human Resources. (Pl.’s Resp. to Defs.’ SOF

¶ 62.) According to Conway, at this point, he informed the director of Simos’ February

17th request to incorrectly update the airfield condition reports, and she advised him

to report it to the FAA and the Office of the Inspector General (“OIG”). (Id.) Conway

then filed complaints regarding the February 17th incident with the FAA on

September 20th, the OIG on September 27th, and the Occupational Safety and

Health Administration (“OSHA”) on October 16th. (Defs.’ Resp. to Pl.’s SOF ¶¶ 77,

84, 93; Pl.’s Resp. to Defs.’ SOF ¶¶ 63, 67, 70.)

      Conway received medical permission to return from leave without restrictions

on October 2nd. (Pl.’s Resp. to Defs.’ SOF ¶ 68; Defs.’ Resp. to Pl.’s SOF ¶ 75.)

Conway’s pre-disciplinary hearing was held upon his return to work on October 9th.

(Pl.’s Resp. to Defs.’ SOF ¶ 77.) On October 16, 2018, one of the Airport Managers for

Midway’s Operations division handed Conway notice that he would be suspended for

five-days for the September 4th incident. (Id.; Defs.’ Resp. to Pl.’s SOF ¶ 105.)

      Conway claims that his five-day punishment reflected a brand-new policy;

previously, executive management had, before deciding on the appropriate discipline,

considered the circumstances of an incursion. (Defs.’ Resp. to Pl.’s SOF ¶ 104.) Others

testified, though, that it was the CDA’s routine practice to impose a minimum of a

five-day suspension as a penalty for runway incursions. (Compare Pl.’s Resp. to Defs.’

SOF ¶¶ 74–75, with Defs.’ Resp. to Pl.’s SOF ¶ 106.) Conway filed the present action

on August 24, 2020. (See Compl.)



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                                  LEGAL STANDARD

      “Summary judgment is proper if the defendants show that no material facts

are genuinely disputed and that they are entitled to judgment as a matter of law.”

Cage v. Harper, 42 F.4th 734, 737 (7th Cir. 2022) (quoting Fed. R. Civ. P. 56(a)).

Where, as here, the parties file cross-motions for summary judgment, all reasonable

inferences are drawn in favor of the party against whom the motion at issue was

made. Milwaukee Deputy Sheriff’s Ass’n v. Clarke, 574 F.3d 370, 376 (7th Cir. 2009).

“[T]he moving party may prevail ‘by showing an absence of evidence to support’ the

nonmoving party’s claims.” Lewis v. Ind. Wesleyan Univ., 36 F.4th 755, 759 (7th Cir.

2022) (quoting Tyburski v. City of Chicago, 964 F.3d 590, 597 (7th Cir. 2020)).

                                       ANALYSIS

      I.     FIRST AMENDMENT RETALIATION 4

      Count I is asserted under 42 U.S.C. § 1983, which “creates a private right of

action against any ‘person’ who violates the plaintiff’s federal rights while acting

under color of state law.” Dean v. Wexford Health Sources, Inc., 18 F.4th 214, 235 (7th

Cir. 2021) (quoting § 1983). “The First Amendment, applicable to the states through

the Fourteenth Amendment, prohibits a public employer from retaliating against an

employee for engaging in protected speech.” Clarke, 574 F.3d at 376. Conway alleges

that the defendants violated his First and Fourteenth Amendment right to free

speech by retaliating against him for reporting the misconduct of his supervisor.

(Compl. ¶ 1.) The Court begins with Conway’s claims against Simos and O’Donnell




   4 Jurisdiction over this federal claim is proper under 28 U.S.C. § 1331.


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(the “Individual Defendants”) before considering the City’s potential liability under

Monell v. Department of Social Services, 436 U.S. 658, 690 (1978).

             A.     The Individual Defendants

      To prove his claim, Conway must show that: “(1) he engaged in constitutionally

protected speech; (2) he suffered a deprivation likely to deter him from exercising his

First Amendment rights; and (3) his speech was a motivating factor in [the Individual

Defendants’] adverse action[s] against him.” Cage, 42 F.4th at 741. The Individual

Defendants argue that they are entitled to summary judgment because no reasonable

juror could find in Conway’s favor as to any element. (R. 253 at 13.) Conway moves

for summary judgment on only the first two elements, arguing that the third element

must be presented to a jury. (See Pl.’s Br. at 4.) Before analyzing these elements, the

Court addresses the preliminary issue of the proper temporal scope of these claims.

                    1.    Time-Barred Conduct

      The Individual Defendants argue that any claim arising from conduct

occurring before August 24, 2018, is time-barred. (R. 252 at 19–20; R. 373 at 12–13.)

In their view, this is because the applicable statute of limitation for bringing § 1983

claims is two years, Brooks v. Ross, 578 F.3d 574, 578–79 (7th Cir. 2009), and the

complaint was filed on August 24, 2020. Conway, however, argues that the limitation

period did not begin to run “until the date the final injury occur[ed] or the tortious

acts cease[d],” invoking the continuing violation doctrine. (R. 358 at 10 (quoting

Feltmeier v. Feltmeier, 798 N.E.2d 75, 89 (2003)).) Conway asserts that, because the

defendants’ wrongful conduct lasted until August 2020, that is when the limitation

period rightfully ended. (Id. at 9.) The Individual Defendants respond that all of the

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alleged acts Conway relies upon were discrete, and thus do not constitute continuous

violations. (R. 252 at 19–20; R. 373 at 13.)

       Tolling doctrines like the continuous-violation doctrine “are to be applied

sparingly.” Nat’l R.R. Passenger Corp. v. Morgan, 536 U.S. 101, 113 (2002). “Easy to

identify” adverse employment actions like “termination, failure to promote, denial of

transfer, or refusal to hire,” do not warrant application of the continuing violation

doctrine, as they are violations in and of themselves. Id. at 115. These “[d]iscrete acts

stand in contrast to the situation that is usually known as a ‘continuing violation’ or

. . . a ‘cumulative violation.’” Bass v. Joliet Pub. Sch. Dist. No. 86, 746 F.3d 835, 839

(7th Cir. 2014). A hostile work environment, however, “encompasses a single

unlawful employment practice,” which “cannot be said to occur on any particular day”

and is based on employer actions that “may not be actionable on [their] own,” and

thus, are properly subject to the continuous-violation rule. Id. at 116; see also Bass,

746 F.3d at 839 (“Cumulative violations arise when it is not immediately apparent

that the law is being violated. . . . a plaintiff may delay suing ‘until a series of wrongful

acts blossoms into an injury on which suit can be brought.’”) (citation omitted).

       Here, the retaliatory actions Conway complains of include: “disciplinary

actions, suspensions, removal from his job inspecting the airfield, reassignment,

denial of a union-mandated step-increase in pay and related cost-of-living-

adjustment benefits, promotion denial, and City-enforced isolation from his

colleagues.” (Pl.’s Br. at 1; see also R. 374 at 26.) Conway’s attempt to frame these

actions as a single violation fails for each constitutes a discrete disciplinary action



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that was independently actionable. (See R. 358 at 9–10). When each action occurred,

it should have been immediately apparent to Conway that the retaliation he alleges

was occurring. For instance, Conway alleges that, on March 20, 2018, he received a

formal verbal reprimand and notice of progressive discipline related to the February

17, 2018, incident. (Defs.’ Resp. to Pl.’s SOF ¶¶ 57.) But, under Morgan, this was an

independently actionable retaliatory action.

       The same is true of Conway’s alleged reassignment and removal from the

airfield. Bass, 746 F.3d at 840 (“Reassignment of duties and suspensions are discrete

acts. Nothing about their duration or repetition changes their nature in such a way

that a cumulative violation could arise.”) Contrary to Conway’s argument that this

case is subject to the exception for hostile work environment claims provided in

Morgan, Conway does not assert a claim “based on the cumulative effect of individual

acts” as such requires. (R. 358 at 10 (citing to Morgan, 536 U.S. at 115); see Compl.)

And his silence in that regard dooms any argument to the contrary. See Alioto v. Town

of Lisbon, 651 F.3d 715, 721 (7th Cir. 2011). Therefore, the continuous-violation rule

does not apply. The Court will not consider actions occurring before August 24, 2018

in its analysis.




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                      2.     Whether Conway’s speech was constitutionally
                             protected. 5

       The Court now decides whether Conway can prove First Amendment

retaliation. As mentioned, the first element is whether Conway engaged in

constitutionally protected speech. This issue presents a question of law, even though

it may require predicate factual determinations. Gustafson v. Jones, 290 F.3d 895,

906 (7th Cir. 2002). To be entitled to summary judgment on this element, Conway

must establish that he “[spoke] as a citizen on a matter of public concern.” Clarke,

574 F.3d at 377. But if the evidence shows that he did not, then the Individual

Defendants are entitled to summary judgment on this claim. See, e.g., id. Conway

asserts that the reports he made describing Simos’ February 17th request to update

the airfield condition in (i) a letter to the FAA on September 20, 2018 (ii) a letter to

the OIG on September 27th and (iii) an OSHA complaint on October 16th, were

constitutionally protected as a matter of law. (Pl.’s Br. at 7–8; R. 358 at 13–15; R. 374

at 14.) 6 The Individual Defendants argue that Conway’s report of the runway

conditions to the FAA, OIG, and OSHA did not constitute a matter of public concern,




   5 The Individual Defendants argue that Conway should be barred from relying upon three

of his alleged instances of constitutionally-protected speech because these were not properly
disclosed before the conclusion of fact discovery. (R. 350 at 4–5.) Conway responds that the
information was properly disclosed. (R. 358 at 9–11; R. 374 at 5–12.) As will become evident,
this dispute is immaterial to the Court’s resolution of the pending motions, and so it will not
be addressed further.
    6 Conway also argues that filing the present action constituted protected activity. Even if

true, the fact he filed it subsequent to the alleged retaliatory actions dooms a claim of
retaliation based on this lawsuit itself. (See R. 374 at 26) (citing Defs.’ Resp. to Pl.’s SOF ¶¶
45–48 (describing events of February 2018), 57–63 (describing events of March and April
2018), 65–67 (describing events of July and June 2018).)
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(R. 350 at 9–13), and that he did not speak as a private citizen. (R. 253 at 23–25.)

Each argument is addressed in turn.

                           a.     The Overall Objective of Conway’s Speech Did
                                  Not Address a Matter of Public Concern.

       “Speech deals with matters of public concern when it can be fairly considered

as relating to any matter of political, social, or other concern to the community, or

when it is a subject of legitimate news interest; that is, a subject of general interest

and of value and concern to the public.” Kristofek v. Vill. of Orland Hills, 832 F.3d

785, 794 (7th Cir. 2016). “Whether a government employee’s speech addresses a

matter of public concern depends upon ‘the content, form, and context of [the speech]

as revealed by the whole record.’” Metzger v. DaRosa, 367 F.3d 699, 702 (7th Cir.

2004). But “speaking up on a topic that may be deemed one of public importance does

not automatically mean the employee’s statements address a matter of public

concern[.]” Kokkinis v. Ivkovich, 185 F.3d 840, 844 (7th Cir. 1999). Rather, only if the

“overall objective or point of the speech, as ascertained by those three factors,” was to

“bring wrongdoing to light,” rather than to “further some purely private interest,”

then the employee’s speech was of a public concern. Kubiak, 810 F.3d at 483.

      Additionally, “[t]he motive of the speaker is relevant as part of the context in

which the speech was made but is not dispositive.” Id. “[A] mere personal aspect of

the speaker’s motivation will not defeat the entire speech,” Kristofek, 832 F.3d at 794,

yet “speech ‘for the sole purpose’” of bolstering [an employee’s] stance in a private

personnel dispute with [their] superiors . . . militate[s] against the conclusion that

the employee’s speech is entitled to First Amendment protection.’” Metzger, 367 F.3d


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at 702 (citation omitted). For instance, in Kristofek, evidence of the plaintiff’s self-

interest in reporting his superior’s misconduct was not outweighed by his desire to

bring public malfeasance to light because “the record [did] not suggest that a reporter,

investigator, or anyone else was inquiring into the matter.” 832 F.3d at 795. The

Seventh Circuit reasoned that there was no evidence that the plaintiff was “alerted .

. . that potential punishment was [imminent].” Id.

      Similarly, in Gustafson, despite the plaintiffs’ speech “advancing some private

interests when they raised concerns about [the defendants’] orders, the Seventh

Circuit decided that “[the plaintiffs’] testimony made clear that they were also

concerned about the fact that [the defendant’s] order would [thwart efforts] to get a

dangerous suspect off the streets and the department efforts in such cases more

generally.” 290 F.3d at 908. But no constitutional protection attaches to speech

motivated “simply to further[ing] [the plaintiff’s] own goal of expressing his

displeasure with [a superior’s] policies,” Kokkinis, 185 F.3d at 844, “bolster[ing][an

employee’s] own position in a private personnel dispute with [their] superiors,”

Metzger, 367 F.3d at 702, or “focus[ing] solely on ‘the personal effect upon’” the

plaintiff. Clarke, 574 F.3d at 379 (quoting Gustafson, 290 F.3d at 908).

      Here, starting with the content of Conway’s speech, there is no genuine dispute

that the accurate reporting of airline conditions has public importance. (R. 374 at 20;

R. 350 at 9 (Individual Defendants acknowledging that “alleged safety violations at

the airport may address a matter of public concern”).) As to form, Conway’s

statements about Simos’ February 17th request to update his airfield condition



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reports were included in (i) a letter to the FAA on September 20th (ii) a letter to the

OIG on September 27th and (iii) an OSHA complaint on October 16th. (Pl.’s Resp. to

Defs.’ SOF ¶¶ 63, 67; Defs.’ Resp. to Pl.’s SOF ¶¶ 93–95.) That Conway made these

statements outside of the ordinary chain of command tends to support an inference

that the matter was of public concern. See, e.g., Kubiak, 810 F.3d at 483 (“The fact

that Kubiak’s complaints about Zala were directed up the chain of command suggests

that Kubiak’s speech did not address a matter of public concern.”).

      But “none of the three factors is dispositive,” and the context of Conway’s

speech shows that his overall objective was to bolster his position in a private

personnel dispute with his superiors. Kristofek, 832 F.3d at 794. The evidence is that

Conway made his first report regarding the February incident in September––seven

months after the fact, yet only days after learning that he would be disciplined for his

independent wrongdoing in a runway incursion. (Pl.’s Resp. to Defs.’ SOF ¶¶ 60, 63.)

These facts make this case distinguishable from Kristofek and Gustafson and

analogous to Clarke, Kokkinis, and Metzger, where the plaintiffs’ speech was ruled to

be unprotected, as it shows Conway spoke solely to improve his standing in

connection with imminent discipline. There is no evidence of any good reason why

Conway waited seven months to report the February incident that would support

concluding that public safety was his driving motivation. In contrast, the evidence

that Conway blamed his runway incursion on Simos-related stress and promptly

shared the cause of this stress with outside channels only once he faced prospective

discipline for shortcomings in an unrelated aspect of his job only supports concluding



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that Conway was motivated by self-preservation, nothing more. (Pl.’s Resp. to Defs.’

SOF ¶ 59; Defs.’ Resp. to Pl.’s SOF ¶ 74; Conway Dep. at 181:5–17, 394:14–396:6.)

      Conway’s rebuttal arguments are unavailing. (See R. 374 at 14–22.) He

disputes the evidence that runway incursions are a serious violation subject to a

minimum five-days suspension. (See Defs.’ Resp. to Pl.’s SOF ¶¶ 104–106.) Conway

also argues against the inference that he made these reports in the context of a

dispute with his superiors because “reporting the City’s violations would not have

spared him the discipline anyway.” (R. 374 at 21.) But, even granting Conway these

inferences, this case remains materially indistinguishable from Metzger.

      In Metzger, the court concluded that “the context of [the plaintiff’s] reports

undermine[d] any suggestion that her speech was of public concern.” 367 F.3d at 702.

The court reached this conclusion, not because it was certain that her reports would

absolve her from certain punishment––but simply that she aimed “to protect herself

from potential accusations that she had ignored or acquiesced in the violations” that

she had alleged of her superiors. Id. (emphasis added). Equally here, Conway blamed

his fault in the September 4th incident, in part, on the combination of the stress

caused by the fear of Simos’ return to work, the weather conditions that day, and the

chance that Simos might again ask him to falsify the weather conditions. (See Pl.’s

Resp. to Defs.’ SOF ¶ 59; Defs.’ Resp. to Pl.’s SOF ¶ 74.) Even if the facts are viewed

in a light most favorable to Conway, the contextual evidence only supports concluding

that Conway’s objective in making the reports of the February conflict was to create




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a documentary record of the incident causing the stress that he claimed caused the

September 4th incident, not a matter of public concern.

                           b.    Conway Did Not Speak as a Private Citizen.

      Although the conclusion that Conway cannot establish that he spoke on a

matter of public concern dooms his First Amendment retaliation claim, the Court will

also illustrate why Conway also did not speak as a private citizen. “The Supreme

Court has held that ‘when public employees make statements pursuant to their

official duties, the employees are not speaking as citizens for First Amendment

purposes, and the Constitution does not insulate their communications from

employer discipline.’” Kubiak, 810 F.3d at 481 (citation omitted). “The ‘inquiry is a

practical one’ that goes beyond a written job description” and “‘[t]he employee’s

official duties include both formal job requirements’ and ‘the employer’s real rules

and expectations.’” Davis v. City of Chicago, 889 F.3d 842, 845 (7th Cir. 2018)

(citations omitted). Relevant considerations include whether “[his] speech was

intimately connected with [his] job,” Kubiak, 810 F.3d at 482, and whether the speech

constitutes “‘government employees’ work product’ that has been ‘commissioned or

created’ by the employer[.]” Kristofek, 832 F.3d at 793 (citation omitted).

       Moreover, when an employee is given an order pursuant to his official duties,

even a refusal to comply with that order constitutes speech as a public employee.

Davis, 889 F.3d at 845. In Davis, for example, the plaintiff “was responsible for

revising his reports at the direction of his superiors” and so his refusal to make the

change at his supervisor’s order constituted speech pursuant to his official duties. Id.

Relatedly, speech reporting misconduct observed pursuant to an employees’ official
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duties has repeatedly been held to have been made pursuant to official duties. Ulrey

v. Reichhart, 941 F.3d 255, 259 (7th Cir. 2019) (collecting cases).

      Here, it is undisputed that Conway’s job duties included monitoring and

reporting runway conditions at Midway. (Defs.’ Resp. to Pl.’s SOF ¶ 2; Pl.’s Resp. to

Defs.’ SOF ¶ 24.) What Conway reported to the FAA, OIG, and OSHA was that he

disagreed with Simos’ February 17th request to update the airfield conditions, and

that he was being retaliated against for opposing that order. (Pl.’s Br. at 7–8; R. 358

at 13–15; R. 374 at 14.) The conclusion that this speech was intimately connected to

Conway’s official duties “is straightforward.” Davis, 889 F.3d at 845. Given that this

speech exists because of what he observed pursuant to his job duties, Conway did not

speak as a private citizen. That he reported the alleged misconduct or abuse does not

alter the character of his speech; the Seventh Circuit has “repeatedly rejected such

claims for a whistleblower carve-out from the category of unprotected employee

speech.” Ulrey, 941 F.3d at 259.

      Once again, Conway’s arguments to the contrary are not persuasive. He argues

that Davis “is irrelevant” because Conway was responsible for assessing runway

conditions independently, and that the plaintiff in Davis “was responsible for revising

his reports at the direction of his superiors.” (R. 358 at 14 (emphasis in original.) But

Davis’ holding was not so narrow; indeed, Conway’s argument cannot be squared with

the Seventh Circuit’s guidance that this “inquiry is a practical one.” 889 F.3d at 845.

For example, in Lett v. City of Chicago, 946 F.3d 398, 401 (7th Cir. 2020), applying

Davis, the court emphasized that the plaintiff’s refusal to amend the investigative



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reports was not protected because it “was ‘speech that owe[d] its existence’ to his

professional responsibilities.” Lett, 946 F.3d at 401. Just as in Lett and Davis,

Conway’s opinion as to the proper conditions owes its very existence to his

performance of his duty to assess runway conditions; he did not speak privately.

      Lastly, Conway argues that disputed facts preclude summary judgment

because the parties disagree whether Logan “ultimately agreed to change the

conditions as Simos ordered.” (R. 358 at 14.) Even if there was some dispute as to

this, it would be immaterial. Since Conway was “not speaking as [a] citizen[] for First

Amendment purposes, . . . the Constitution does not insulate [his] communications

from employer discipline.” Cage, 42 F.4th at 742. The Court takes no view of whether

the evidence supports concluding that Conway suffered a deprivation, but if he did,

in the absence of any proof that Conway engaged in constitutionally protected speech,

such would not offend the constitution. In sum, as a matter of law, Conway did not

speak as a private citizen on a matter of public concern. His motion for summary

judgment is therefore denied, and the Individual Defendants’ motion is granted.

             B.     Monell Liability

      In Monell, the Supreme Court held that local governmental entities are

“persons” under § 1983. 436 U.S. 658, 690 (1978). Accordingly, “local governments

like [the City] can be held responsible for constitutional violations only when they

themselves cause the deprivation of rights.” J.K.J. v. Polk Cnty., 960 F.3d 367, 377

(7th Cir. 2020). But “a municipality cannot be liable under Monell when there is no

underlying constitutional violation by a municipal employee.” Doxtator v. O’Brien, 39

F.4th 852, 864 (7th Cir. 2022). Conway’s failure to establish that the Individual
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Defendants committed a constitutional violation is therefore fatal to his claim against

the City. See, e.g. id. at 864–65 (affirming district court’s grant of summary judgment

to municipality because the district court properly dismissed the claim against the

police officer). Accordingly, the City’s motion for summary judgment on Conway’s

Monell claim is granted.

      II.    ILLINOIS WHISTLEBLOWER ACT

      The defendants also move for summary judgment on Conway’s Illinois

Whistleblower Act (“IWA”) claim. (Compl. ¶¶ 152–62; R. 252 ¶ 7.) “The general rule,

when the federal claims fall out before trial,” however, “is that the district court

should relinquish jurisdiction over any supplemental . . . state law claims in order to

minimize federal judicial intrusion into matters of purely state law.” Burritt v.

Ditlefsen, 807 F.3d 239, 252 (7th Cir. 2015) (citation omitted). “[O]nly in ‘unusual

cases’ may a district court exercise its discretion to assert its supplemental

jurisdiction based upon the balance of the factors of ‘judicial economy, convenience,

fairness and comity.’” Id. (citation omitted). Having considered the applicable factors,

the Court sees no reason to continue exercising jurisdiction over Conway’s state-law

claim. The IWA claim is therefore dismissed without prejudice. See, e.g., Jain v. Bd.

of Educ. of Butler Sch. Dist. 53, 366 F. Supp. 3d 1014, 1021 (N.D. Ill. 2019).

                                   CONCLUSION

      The plaintiff’s motion to seal [349] is granted. The plaintiff’s corrected partial

motion for summary judgment [324] is denied for the reasons stated in this

memorandum opinion and his partial motion for summary judgment [303] is denied

as moot in light of his corrected motion. The defendants’ motion for summary

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judgment [252] is granted as to Conway’s First Amendment retaliation claim. The

Court declines to exercise supplemental jurisdiction under 28 U.S.C. § 1367 over the

plaintiff’s Illinois Whistleblower Act claim; it is dismissed without prejudice. Civil

case terminated.



Date: March 31, 2025
                                                    JEREMY C. DANIEL
                                                    United States District Judge




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